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                   IN THE UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF MISSISSIPPI
                             JACKSON DIVISION

UNITED STATES OF AMERICA                                          PLAINTIFF

VS.                                    CAUSE NO.: 3:12-CR-88-DCB-FKB-6

BOOKER TARVIN, ET AL.

                                  ORDER

      Four defendants in the present cause have filed motions with

the Court [docket entry nos. 120, 121, 125, 139] asking it to

reconsider its October 16, 2012, Order denying a continuance of the

upcoming trial. The government has filed a consolidated response to

the these motions [docket entry no. 133], wherein it concedes that

the interests of justice would be best served by continuing the

case and urges the Court to grant defendants’ motions. Having

carefully considered the reasons for granting a continuance set

forth   in   the   recent   motions,   particularly    in   light    of   the

government’s additional explanation as to why a continuance should

be granted, the Court finds that the public interest is best served

by granting a brief continuance in this matter. Therefore, the

trial as to all Defendants in the above numbered cause will be

continued to February 25, 2013.

      IT IS THEREFORE HEREBY ORDERED THAT Defendant Taylor’s Motion

      for Continuance [docket entry no. 120] is GRANTED.

      IT IS FURTHER HEREBY ORDERED THAT Defendant Ford’s Motion for

      Continuance [docket entry no. 121] is GRANTED.

      IT IS FURTHER HEREBY ORDERED THAT Defendant Fulford’s Motion
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  to Reconsider [docket entry no. 125] is GRANTED.

  IT IS FURTHER HEREBY ORDERED THAT Defendant Tarvin’s Motion

  for Continuance [docket entry no. 139] is GRANTED.

  SO ORDERED, this the 24th day of October, 2012.



                                      /s/ David Bramlette
                                     UNITED STATES DISTRICT JUDGE




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